                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
               v.                                     )       CASE NO. DNCW 3:03CR209-02
                                                      )       (Financial Litigation Unit)
WENDY N. BROWN,                                       )
                                                      )
and                                                   )
                                                      )
HEWITT ASSOCIATES, LLC,                               )
                                                      )
                       Garnishee.                     )

                                 ORDER OF GARNISHMENT

        THIS MATTER is before the Court on the answer of Hewitt Associates, LLC, as the

Garnishee. On August 24, 2004, the Honorable Judge Lacy H. Thornburg, sentenced the defendant

to five months imprisonment for her conviction of conspiracy to commit Bank Fraud and Utter

Counterfeit Securities in violation of 18 U.S.C. §371. Judgment in a Criminal Case, filed September

10, 2004. As part of that Judgment, the Defendant was ordered to pay an assessment of $100.00 and

restitution of $113,577.81 to the victims of the crime. Id.

        The Government now seeks to garnish the Defendant’s earnings from the garnishee. The

Answer of the Garnishee filed October 19, 2010, provides that Garnishee anticipates additional

earnings in the form of new wages (gross pay minus total tax withholdings) in the amount of

$1,025.54 bi-weekly. However, the Answer of the Garnishee also stated that Ms. Brown’s wages

are currently being garnished for a North Carolina tax levy in the percentage amount of 10% per pay

period based on her bi-weekly earnings. As the North Carolina tax levy is 10% of Ms. Brown’s

gross earnings, the Government seeks to garnish 15% of her earnings based on her bi-weekly

earnings.




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        IT IS THEREFORE ORDERED that an Order of Garnishment is hereby ENTERED in

the amount of $106,822.81 computed through June 24, 2010, which attaches to any earnings of the

Defendant and up to 15% shall be garnished in favor of the United States until the Defendant’s

restitution debt is paid in full.



                                              Signed: April 6, 2012




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